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                 Attorneys for Plaintiff and the Proposed Class
          13
                                              UNITED STATES DISTRICT COURT
          14                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                 SAN FRANCISCO DIVISION
          15

          16     JONATHAN FARIDIAN, individually and on           Case No.: 3:23-cv-01692-JD
                 behalf of all others similarly situated,
          17                                                      DECLARATION OF KATHRYN TEWSON
                                          Plaintiff,              IN SUPPORT OF PLAINTIFF’S
          18                                                      OPPOSITION TO DEFENDANT’S MOTION
                                                                  TO COMPEL ARBITRATION
                         v.
          19
                                                                  Date: July 27, 2022
          20     DONOTPAY, INC., a Delaware corporation,          Time: 10:00 a.m.
                                                                  Judge: Hon. James Donato
          21                              Defendant.              Courtroom: 11, 19th Floor
          22
                                                                  Date Action Filed: March 3, 2023
          23                                                      Date of Removal: April 7, 2023

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                 DECLARATION OF KATHRYN TEWSON.                                          CASE NO. 3:23-CV-01692-JD
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            1
                         I, Kathryn Tewson, declare as follows:
            2
                         1.      I am over eighteen and I have personal knowledge of the facts herein and, if called
            3
                 upon to testify to those facts, I could and would do so competently.
            4
                         2.      I signed up for DoNotPay on January 22, 2023, using my personal email address.
            5
                         3.      I opted out of the arbitration provision by causing a written notice stating my desire to
            6
                 opt out to be sent via first-class mail to 164 Townsend Street, Unit #2, San Francisco, CA 94107 on
            7
                 January 25, 2023. At that time, the Terms of Service stated “You can opt out of arbitration if you
            8
                 provide written notice within 30 days following the date you first agree to these Terms and send
            9
                 written notice by registered mail clearly stating your desire to do so to the following address: 164
          10
                 Townsend Street, Unit #2, San Francisco, CA 94107.”
          11
                         4.      The letter was returned to me as unclaimed and unable to be forwarded.
          12
                         I declare under penalty of perjury under the laws of the United States of America that
          13
                 the foregoing is true and correct.
          14
                         Executed this 22nd day of June, 2023, in Bothell, Washington.
          15

          16
                                                                          /s/
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                 DECLARATION OF KATHRYN TEWSON.                     -1-                        CASE NO. 3:23-CV-01692-JD
